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                        UNITED STATES DISTRICT COURT
                                   FOR THE
                         DISTRICT OF MASSACHUSETTS

SUFFOLK, SS                                       Case No. 1-23-cv-10134-DJC

__________________________________________

AARON GREENSPAN                              )

      Plaintiff,                             )

v.                                           )

DIEGO MASMARQUES, JR. a/k/a                  )

DIEGO MAS HOWARD a/k/a RICKY MAS             )

MARQUES a/k/a JACK JONES, SERGEI IGOREVICH )

KUDRIAVTSEV, and MEDIOLEX, LTD.              )

      Defendant.                             )

__________________________________________)

                   DEFENDANT ATTORNEY’S NOTICE OF APPEARANCE

     Now comes Attorney Simon B. Mann who hereby files his Notice of
Appearance on behalf of Defendant Diego MasMarques, Jr.
                                                  Respectfully submitted,
                                                  Defendant.

                                                  By his attorney,

                                                  /s/ Simon B. Mann
                                                  __________________________
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